             Case 4:22-cv-00343-Y Document 215 Filed 02/27/24                                                 Page 1 of 1 PageID 4980
                                                   IN THE UNITED STATES DISTRICT COURT
                                                   FOR THE NORTHERN DISTRICT OF TEXAS
                                                ORDER STRIKING AND UNFILING DOCUMENT(S)
The Court has independently determined that the document(s) below should be stricken and unfiled. Accordingly, it is ordered
that the document(s) is/are stricken from the record of this case, and.thé Clerk is Mifected to note on the docket that the
document(s) has/have been unfiled.                                  a                  v

    February 27. 2024                                                                    rr                  Ate
    DATE                                                                     US. DISTRIG
                                                                                     ¥:  ve GISTRATE
                                                                                                :    JUDGE
                                                                    NOTICE OF BEEXCIENCY ~
    Judge:     Jeffrey L. Cureton                                                         Date: 02/27/2024
    Case Number:              4:22-cv-343                                                 Style:     Ross v. Association of Professional Flight Attendents



    A(n)     Response to Plaintiffs’ Sealed Motion for Sanctions and Appendix in support [docs. 210-11]                                  has been filed by
    Defendants                                                                                and is considered deficient in the area(s) noted below:
                         1.            A civil cover sheet must be filed with the complaint.       See LR 3.1(a) or LR 3.2(c).
                         2,            The document(s) must be in proper form.      See LR 10.1 or LCrR 49.3.
                         3.            The signature of the attorney of record, which includes a party proceeding pro se, is required on each
                                       document filed. See FED. R. Civ. P. L1(a), FED. R. Crim. P. 49(d), LR 11.1(b), or LCrR 49,5(b).
                         4.            A completed certificate of service is required.   See FED. R. Civ. P. 5(d) or FED. R. Crim. P. 49(d).
                         5.            Each separate document contained therein must be identified.         See LR 5.1(c) or LCrR 49.2(c).
                         6.            The motion or response must include:
                                                      certificate of conference or inability to confer.    See LR 7.1(b) or LCrR 47.i(b).
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                                                      brief in support of motion.   See LR 7.1(d), LR 56.5(a), or LCrR 47.1(d).
                                 c.                   proposed order.   See LR 7.1(c) or LCrR 47.1(c).
                                 d.                   documentary or non-documentary evidence in a separate appendix.            See LR 7.1(i) or LR 56.6.
                    7.                A motion for leave to amend must have a copy of the proposed amended pleading attached as an exhibit.
                                      See LR 15.1(a) and (b). [f the motion for leave to amend is filed on paper, the motion must be
                                      accompanied by an original and second copy of the proposed amended pleading that is neither attached to the
                                      motion nor made an exhibit to the motion. See LR 15.1(a).
                    8.                A motion for continuance of a trial setting must be signed by the party as well as by the attorney of record.
                                      See LR 40.1.
                    9.                An attorney seeking pro hac vice admission must apply for admission on an approved form and pay the
                                      applicable fee. See LR 83.9(b) or LCrR 57.9(b).
                   10.                Additional copies are required.   See LR 5.1(b) or LCrR 49.2(b).
                   UH.                The attorney filing the pleading is not admitted to practice in this district. See LR 83.7 or LCrR 57.7.
                   12.                The document requires a separately signed certificate of interested persons.      See LR 3.1(c), LR 3.2(e),
                                      LR 7.4, LR 81.1 (a)(3)(D), or LR 81.2.
               v   13.                Other:
                                      The motion underlying the response was struck and unfiled. Accordingly, there is no motion to respond to and
                                      the response was impropper.
